                                                                      JS-6
Case 2:24-cv-00242-PA-AGR Document 36 Filed 07/05/24 Page 1 of 2 Page ID #:2269



   1
   2
   3
   4
   5
                             UNITED STATES DISTRICT COURT
   6
                            CENTRAL DISTRICT OF CALIFORNIA
   7
   8
       Jessica Woody                         Case No.: 2:24-cv-00242-PA-AGR
   9
                       Plaintiff,            ORDER ON STIPULATION OF
 10                                          DISMISSAL OF ENTIRE ACTION
       v.                                    WITH PREJUDICE
 11
       United Healthcare Insurance Company
 12    and DOES 1-10,
 13                    Defendants.
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
Case 2:24-cv-00242-PA-AGR Document 36 Filed 07/05/24 Page 2 of 2 Page ID #:2270



   1         Based on the Stipulation of Defendant, United Healthcare Insurance Company,
   2   and Plaintiff, Jessica Woody,
   3         It is HEREBY ORDERED as follows:
   4         1.    The above-entitled action, Case No. 2:24-cv-00242-PA-AGR, is
   5               dismissed in its entirety with prejudice pursuant to Federal Rule of
   6               Civil Procedure 41(a)(1); and
   7         2.    Each party shall bear their own costs and fees.
   8
   9         IT IS SO ORDERED.
 10
 11    Dated:
          ed: July 05, 2024                    By:
                                                              Percy
                                                              Percy Anderson
 12
                                                         8QLWHG6WDWHV'LVWULFW-XGJH
                                                         8QLWHG6
                                                                6WDWHV'LVWULFW-XGJH
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                               -2-
